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 1                                                      THE HONORABLE THOMAS S. ZILLY

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                          UNTIED STATES DISTRICT COURT FOR THE
 7                          WESTERN DISTRICT OF WASHINGTON

 8
     GLACIER NORTHWEST, INC.,
 9
                           Plaintiff,                  Case No. 2:18-cv-00556-TSZ
10
            v.                                         [PROPOSED] ORDER GRANTING
11                                                     DEFENDANT CEMENTAID
     CEMENTAID INTERNATIONAL                           INTERNATIONAL MARKETING,
12   MARKETING, LTD.,                                  LTD.’S MOTION TO DISMISS
13                                                     GLACIER NORTHWEST, INC.’S
                           Defendant.                  AMENDED COMPLAINT
14

15          This matter having come before the Court on Defendant Cementaid International

16   Marketing, Ltd.’s Motion to Dismiss Glacier Northwest, Inc.’s Amended Complaint, and the Court

17   being fully advised in the premises,

18          IT IS HEREBY ORDERED that Defendant Cementaid International Marketing, Ltd.’s

19   Motion to Dismiss Glacier Northwest Inc.’s Amended Complaint is GRANTED in its entirety.

20          IT IS SO ORDERED.

21
     Dated: December ___, 2018
22

23                                                 Thomas S. Zilly
                                                   United States District Judge
24

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     [PROPOSED] ORDER GRANTING DEFENDANT’S                    Bracewell LLP 701 Fifth Ave., Suite 6200
     MOTION TO DISMISS                    -1-                     Seattle, Washington 98104-7043
                                                               Phone 206.204.6200 Fax 800.404.3970
